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AO 91 (Rev. 08/09) Criminal Complaint A | y
UNITED STATES DISTRICT COURFILED PY ae D.C.
for the
Southern District of Florida JAN 3 0 2020

ANGELA E. NOBLE

 

 

 

United States of America ) CLERK U.S. DIST. CT. ©
Vv. ) S.D. OF FLA. - W.P.B.

) Case No. 20-8034-WM

DANIEL ANTWAN PHILMORE, a/k/a "Daniel Foster" )

alk/a “Jitty Flick,” ).
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of 08/25/2017 ~ 07/18/2019 inthe county of Palm Beach in the
Southern District of Florida , the defendant(s) violated:
Code Section , Offense Description
21 USC §§ 841(a)(1), 841(b)(1)(D) Possession With Intent to Distribute Controlled Substance (Marijuana);
18 USC § 924(c)(1)(A); and, ~’ Posession of a Firearm in Furtherance of a Drug Trafficking Crime; and
18 USC §§ 922(g)(1), 924(e). Possession of a Firearm and. Ammunition by a Convicted Felon

This criminal complaint is based on these facts:

PLEASE SEE ATTACHED AFFIDAVIT

Mf Continued on the attached sheet.

 

Ryan Patterson, Task Force Officer, FBI
Printed name and title

Sworn to before me and signed in my presence.

  

Date: -01/30/2020

udge’s signature

   

City and state: West Palm Beach, Florida Hon. William Matthewman, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT OF
RYAN PATTERSON, TASK FORCE OFFICER
FEDERAL BUREAU OF INVESTIGATION
Case No. 20-8034-WM

I, Ryan Patterson, being duly sworn, do state and attest as follows:

1. | I am a Task Force Officer (TFO) with the Federal Bureau of Investigation (FBI),
and a police officer for the City of West Palm Beach Police Department, Palm Beach County,
Florida. J have been employed with the agency since August of 2007. I am a certified police
officer in the State of Florida having successfully completed the Florida Police Standards and
Training Commission requirements. I am currently assigned to Squad PB-2, the Violent Crimes
and Major Offender Squad of the Palm Beach County Resident Agency. I have primarily been
assigned to investigations dealing with bank robberies, fugitives, violent crimes involving
firearms, and other sophisticated schemes to include narcotics investigations.

2. This affidavit is based upon my own personal knowledge of the facts and
circumstances surrounding the investigation and information provided to me by other law
enforcement officers. This affidavit does not purport to contain all the information known to me
about this case but addresses only that information necessary to support a finding of probable cause
for the issuance of a criminal complaint charging DANIEL ANTWAN PHILMORE, a/k/a
“DANIEL FOSTER,” alk/a “Titty Flick,” with two counts of Felon in possession of a
firearm/ammunition, in violation of | Title 18, United States Code, Sections 922(g)(1) and
924(e)(Armed Career Criminal); Possession with Intent to Distribute a Controlled Substance, in

‘violation of Title 21, United States Code, Section 841(a)(1); and Possession of a Firearm in |

Furtherance of a Drug Trafficking Offense, in violation of Title 18, United States Code, Section

924(c).
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August 25, 2017

3. On August 25, 2017, at approximately 9:38 a.m., Palm Beach County Sheriff's
Office (PBSO) Deputy Chaparro was conducting patrol operations in a marked PBSO sedan in the
Gramercy Park area of unincorporated West Palm Beach, Palm Beach County, Southern District |
of Florida. While in the area of 45th Street west of Interstate 95, he observed a 2001 Acura 3.2TL
bearing Florida license plate 3188 VT with dark tinted windows traveling westbound on 45th Street
toward Northpoint Boulevard. Based on Deputy Chaparro’s training and experience, he believed
the tint on the Acura was in violation of Florida State Statute. Deputy Chaparro conducted a
record check of the Acura’s license plate. The record check on the Acura’s license plate revealed .
that it was assigned to a stolen vehicle.

4, As Deputy Chaparro received the stolen vehicle alert on his agency issued
computer, the Acura made a sudden right turn into the RaceTrac gas station located at 2995 45th
Street. The Acura stopped at a.pump and remained idle for several seconds, which Deputy
Chaparro found unusual in that in his experience, most drivers arriving at gas stations usually exit
their vehicle upon placing it in park. Deputy Chaparro monitored the Acura and did not activate
his lights or siren fearing the vehicle would flee in the densely populated area. The driver and
sole occupant of the Acura, later identified as PHILMORE, then exited the Acura and walked into
the convenience store, allowing PHILMORE’s description to be provided via radio. |

5. PHILMORE then exited the convenience store and returned to the Acura, where
Deputy Chaparro made contact with him. Deputy Chaparro instructed PHILMORE to sit on the
curb near the pump while he conducted his roadside investigation as to the stolen vehicle license

plate and suspected illegal tint. PHILMORE, however, did not comply with the Deputy’s
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directions and attempted to reenter the Acura, and was again instructed not to enter the vehicle,
Due to the dangerous and rapidly evolving event, Deputy Chaparro removed his agency firearm
from its holster while continuing to give PHILMORE commands to sit. PHILMORE failed to
comply and returned to the store, forcing Deputy Chaparro to follow him into the store while
continuing to give him commands to stop.

6. Shortly thereafter, additional PBSO backup units arrived at the gas station, allowing
PHILMORE to be safely detained while Deputy Chaparro continued his roadside investigation.
A record check of PHILMORE’s identity revealed numerous active suspensions to his Florida
driver’s license and six guilty adjudications for the same offense. PHILMORE was also found to
be a convicted felon, classified as a Career Offender, and therefore prohibited from possessing a
firearm. A record check of the Acura’s license plate was conducted via Palm Beach County .
Sheriff's Office Dispatch, revealing that it belonged to a Chevrolet reported stolen out of the City
of West Palm Beach. Because the Acura had a license plate that was not assigned to the vehicle,
a record check of its vehicle identification number was conducted, revealing that it had a current
registration out of Palm Beach County.

7. Based on the above described facts and circumstances, PHILMORE was placed
under arrest for violation of Florida Statutes 322.34(2) - Operating a Motor Vehicle with License
Suspended or Revoked with Knowledge, and 843 02 - Resist of Obstruct Officer without Violence.
A search incident to arrest of PHILMORE’s pockets revealed a green leafy substance weighing 14
grams in two clear plastic bags, which later tested positive for the properties and characteristics of
marijuana. Additionally, PHILMORE was found in possession of $3,620.00 in United States

Currency ((23) one hundred-dollar bills, (1) fifty dollar bill, (63) twenty dollar bills, and (1) ten
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dollar bill), which were consistent with drug proceeds.

8. Law enforcement discovered that upon leaving the Acura, PHILMORE had locked
the vehicle and thereafter discarded the key, since such was not found in his possession incident
to his arrest. However, the PBSO personnel were able to observe both an additional quantity of
green leafy substance consistent in appearance with marijuana, and a portion of a black semi-
automatic pistol protruding from underneath the driver’s seat through the Acura’s window glass.
Later that same day, August 25, 2017, law enforcement personnel obtained a search warrant by a
judge in the Fifteenth J udicial Circuit for Palm Beach County, Florida to search the Acura driven’
by PHILMORE. During the execution of the search warrant on the vehicle, the following items
were seized among other items: |

a.) One (1) FN Herstal Model Five-Seven, 5.7 x 28 mm caliber semi-automatic
pistol, bearing serial number 386306091;

b.) - Ammunition (inside the firearm);

¢.) One (1) Samsung cellular phone;

e.) One (1) ZTE cellular phone;

f.) One (1) Florida vehicle tag EXXL95 (also not assigned to the Acura)

9. On November 3, 2017, law enforcement personnel obtained a search warrant by a
judge in the Fifteenth Judicial Circuit for Palm Beach County, Florida to collect DNA from
DANIEL PHILMORE. Swabs from the FN Herstal firearm and the DNA standard belonging to
DANIEL PHILMORE was submitted to DNA Labs International, a national and internationally
certified DNA testing laboratory for DNA comparison. An analysis of the swabs from the

trigger/guard of the FN Herstal indicated a mixture of at least four individuals with at least one
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male contributor. The DNA profile obtained from the item is approximately 30 quadrillion times
more probable if the sample originated from PHILMORE and three unknown persons than if it
originated from four unknown persons. Therefore, there is extremely strong support that
PHILMORE and three unknown persons contributed to this mixed DNA profile, rather than four
unknown persons. An analysis of the swabs from the frame/slide of the FN Herstal indicated a
mixture of at least three individuals with at least one male contributor. The DNA profile obtained
from the item is approximately 28 quadrillion times more probable if the sample originated from
PHILMORE and two unknown persons than if it originated from three unknown persons.
Therefore, the analyst submitted there is extremely strong support that PHILMORE and two
unknown persons contributed to this mixed DNA profile, rather than three unknown persons.

10. Your affiant has extensively discussed this case with Deputy Chapparo. Prior to
commencing duty with the PBSO in 2017, Deputy Chapparo was employed as a Patrol Agent with
the U.S. Border Patrol from 2008-2013, during which time he also served as a Task Force Officer

(
assigned to the U.S. Drug Enforcement Administration Task Force. From 2015-2017, Deputy
. Chapparo was employed as a police officer with the Jupiter (Florida) Police Department, until
transferring to the PBSO. Deputy Chapparo advised your affiant he has personally participated
in over one hundred (100) arrests of individuals personally possessing for their own use, or
engaged in the distribution of marijuana, during his law enforcement career. On the basis of his
training and experience, as well as the attendant circumstances of over $3,000 in cash being

discovered on PHILMORE’s person, the packaging of the marijuana, the defendant’s possession
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of three cellular phones!, a firearm, as well as multiple vehicle license plates not assigned to that
vehicle, which Deputy Chapparo knows to be a tactic used by drug dealers to avoid law
enforcement scrutiny, that the quantity of marijuana recovered in this case is consistent with a.
distribution quantity, and inconsistent with a personal use quantity... Deputy Chapparo is further
aware that firearms, such as the FN Herstal Five-Seven pistol recovered from the vehicle driven
by PHILMORE, are “tools of the trade” for persons involved in the illegal distribution of controlled
substances, and are commonly possessed and used by drug dealers to facilitate their drug dealing
business, so as'to provide protection for themselves, their illegal drugs for sale, and thé proceeds
of their illegal drug sales, and therefore serve to help and assist the drug dealer in the conduct of
their illegal. business. |

July 18, 2019

| 11. On Thursday, June 6, 2019, an arrest warrant was issued by a judge in the Fifteenth

Judicial Circuit for Palm Beach County, Florida for the arrest of DANIEL PHILMORE for Failure
of Career Criminal to Properly Register. Law enforcement personnel learned that PHILMORE
was residing at 2277 Shimmery Lane, Lantana, Palm Beach County, Southern District of Florida
(hereinafter “the residence”)

12. On the morning of Thursday, July 18, 2019, law enforcement personnel were
conducting surveillance in the vicinity of the residence, and observed a women identified as GD,

exit the above residence and enter a gray 2015, Infiniti Q50, bearing Florida tag KPTZ54. Law

 

1 Your affiant notes that according to Deputy Chapparo, in addition to the two (2) cellular phone
recovered from the Acura in which PHILMORE had been driving just prior to his arrest,
PHILMORE was in possession of a third cellular phone on his person which was placed in his
personal property at the Palm Beach County Jail incident to his arrest. That phone was returned
to PHILMORE by the jail following PHILMORE’s release on bond.

6
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Enforcement personnel made contact with GD, who confirmed that DANIEL PHILMORE was
inside the residence. Law enforcement personnel attempted to make contact with PHILMORE
and, after several announcements, PHILMORE answered the door and he was taken into custody.
| 13. Shortly thereafter, law enforcement personnel interviewed GD at the residence.
GD provided a post-Miranda statement, and executed a written consent to search for her residence
and another vehicle parked inside of the garage at the residence. The consent form included a
notice that GD had the right to refuse consent. GD stated she lives at the residence with her
' children and PHILMORE was the only adult male who resides at the apartment on occasion. GD - .
denied owning any firearms. . |
14. —_‘ Following the arrest of PHILMORE and the written consent to search the TARGET
LOCATION, one box of 7.62 x 39 mm live ammunition was found inside the top middle dresser
' drawer located in GD’s room. ‘The box of ammunition was surrounded by men’s socks and
various articles of men’s clothing were strewn about the floor of the bedroom.
15. During PHILMORE’s transport from the residence after his arrest, he asked law
enforcement personnel, “If they find anything inside the house, am | going to be charged with it?”
16. On Friday, July 19, 2019, law enforcement personnel obtained a search warrant by
a judge in the Fifteenth Judicial Circuit for Palm Beach County, Florida to collect DNA from
DANIEL PHILMORE. The search warrant for DNA was executed at the Palm Beach County
Jail, Main Detention Center within the medical unit on Friday, July 26, 2019.
17, On August 19", 2019, swabs taken form the ammunition box and the DNA standard .
belonging to DANIEL PHILMORE were submitted to DNA Labs International for comparison.

An analysis by DNA Labs International concluded that a partial DNA profile obtained from the
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swabs of the ammunition box was approximately 8.7 billion times more probable if the sample
originated from DANIEL PHILMORE than if it originated from an unknown person. Therefore,
the analyst concluded there is extremely strong support that DANIEL PHILMORE contributed to
this DNA profile, rather than an unknown person. |

18. —_ Investigators have consulted with an ATF Interstate Commerce Nexus expert who
has received extensive training in the manufacture and commerce of firearms and ammunition,
and who has been qualified to testify as an expert in interstate nexus in the U.S. District Court for
the Southern District of Florida on numerous prior occasions. The expert determined that the seized
FN Herstal Five-Seven semi-automatic pistol, as well as the 7.62 x 39 mm ammunition
were manufactured outside the State of Florida, and therefore necessarily traveled in and affected .
interstate and/or foreign commerce. Your affiant notes that 7.62 x 39 mm ammunition is most
commonly employed in AK-47 variant and SKS semi-automatic rifles. Furthermore, a review of
Palm Beach County Criminal Court records revealed PHILMORE is a convicted felon, having
been convicted of at least the following felonies in Palm Beach County Circuit Court: Aggravated
Assault with a Firearm, Felon in Possession of Firearm (Actual), Resist with Violence, and
Possession of Cocaine, in case 2017CF009541AXXXMB, dated 02/05/2010; Possession of
Cocaine, Fleeing or Attempting to Elude, Driving While License Suspended (Habitual), in case
2007CF007437AXXXMB, dated 02/05/2010; Felon in Possession of Firearm, in case —
2004CF010808AXXXMB, dated 03/24/2005; Possession of Cocaine with Intent to Sell, in case
2004CF008032AXXMB, dated 03/24/2005; Possession of Cocaine with Intent to Sell, Fleeing or
Attempting to Elude, Driving While License Suspended (Habitual), in case

2004CF007520AXXMB, dated 03/24/2005; Possession of Cocaine, in case
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2001CF0008171AXXMB, dated 05/06/2002; and, Sale of Cocaine, in case
1996CF13053AXXMB, dated 08/28/1998.

19. | WHEREFORE, onthe basis of the foregoing, your affiant respectfully submits that
probable cause exists to charge DANIEL ANTWAN PHILMORE, a/k/a “DANIEL FOSTER,”
a/k/a “Jitty Flick,” with two counts of Felon in possession of a firearm/ammunition, in violation
of Title 18, United States Code, Sections 922(g)(1) and 924(e)(Armed Career Criminal); |
Possession with Intent to Distribute a Controlled Substance, in violation of Title 21, United States
Code, Section 841(a)(1); and Possession of .a Firearm in Furtherance of a Drug Trafficking

Offense, in violation of Title 18, United States Code, Section 924(c).

FURTHER YOUR AFFIANT SAYETH NAUGHT:

 
    

 

 

ae
RYAN PATTERSON
Task Forcé Officer

Federal Bureau of Investigation

SWORN TO AND SUBSCRIBED
BEFORE ME THIS 307 DAY OF
JANUARY 2020, AT WEST.PALM
BEACH, FLORIDA.

    

HON. WILLIAM
UNITED STATES/MAGISTRATE JUDGE
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant’s Name: _ DANIEL ANTWAN PHILMORE, alkla “Daniel Foster”

Case No:: 20-8034-VWM

Count # 1 .
- Possession with Intent to Distribute Controlled Substance (Marijuana)
Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(D)

Max. Penalty: 0-5 years’ imprisonment; minimum 2 year to life term of supervised
release; a maximum fine of $250,000; and,a $100 special assessment (Note: If 21 USC
§ 851 Information filed: 0-10 years’ imprisonment; maximum fine of $500,000; 4 year to
life term of supervised release; and, a $100.00 special assessment)

Count # 2 . ;
Possession of a Firearm in Furtherance of a Drug Trafficking Crime
Title 18, United States Code, Sections 924(c)(1)(A)

Max. Penalty: 5-year mandatory minimum sentence of imprisonment to maximum life
term of imprisonment, consecutive to any penalty imposed upon Count 1; maximum
fine of $250,000 fine; 0-5 years’ supervised release: and, a $100 special assessment.

Counts # 3
Felon in Possession of Firearm and Ammunition
Title 18, United States Code, Sections 922(g)(1), 924(e)

Max. Penalty: 15 year mandatory minimum to life term of imprisonment; $250,000 fine;
0-5 year term of supervised release: and, a $100.00 special assessment.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 20-8034-WM
UNITED STATES OF AMERICA,

Plaintiff,
vs.

DANIEL ANTWAN PHILMORE,
a/k/a “Daniel Foster,” a/k/a “Jitty Flick,”

Defendant. a
/

CRIMINAL COVER SHEET

1. Did this matter originate from a matter pending in the Miami Office of the United
States Attorney’s Office prior to July 20, 2008?

Yes X No

2. Did this matter originate from a matter pending in the Northern Region of the United
States Attorney’s Office (West Palm Beach Office) only prior to December 18, 2011?

Yes X No

3. Did this matter originate from a matter pending in the Fort Pierce Office of the
United States: Attorney’ s Office prior to August 8, 2014?

Yes X No .
Respectfully submitted,

ARIANA FAJARDO ORSHAN
TATES ATTORNEY

   
   

- BY:

 

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